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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al.,1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                          SUPPLEMENTAL CERTIFICATE OF SERVICE

      I, Heather Fellows, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 1, 2024, at my direction and under my supervision, employees of KCC caused
to be served per postal forwarding address the following document via First Class Mail upon the
service list attached hereto as Exhibit A:

        Debtors' Second Motion for Entry of an Order Extending the Deadline by Which
         Debtors May File Notices to Remove Actions [Docket No. 922]

Dated: February 5, 2024
                                                               /s/ Heather Fellows
                                                               Heather Fellows
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                    Exhibit A
                                       Case 23-10831-MFW        Doc 948       Filed 02/05/24   Page 3 of 3
                                                                      Exhibit A
                                                           Litigation Parties Service List
                                                             Served via First Class Mail
             CreditorName       CreditorNoticeName     Address1                   Address2              City     State      Zip
            Robert Palumbo     David R. Kaplan       Saxena White   505 Lomas Santa Fe Dr Ste 180   Solana Beach CA      92075‐1340




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